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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 22-20104-CR-MARTINEZ

  UNITED STATES OF AMERICA,
  v.

  FREDERICK J. BERGMANN, JR.

            Defendant.
  _____________________________/
                    DEFENDANT’S SENTENCING MEMORANDUM

            Defendant,   FREDERICK      J.   BERGMANN,      JR.,   files   his   sentencing

  memorandum.1

       I.      INTRODUCTION

            Mr. Bergman does not receive the benefit of the acceptance of responsibility

  reduction under the Sentencing Guidelines despite clearly having accepted

  responsibility for his criminal conduct. Mr. Bergmann’s role in the crimes to which

  he pleaded guilty is distinguishable and materially different from those of the other

  defendants in this matter. His background shows that he is a person of exceptional

  selflessness and kindness. Mr. Bergmann suffers from mental health issues and

  debilitating back pain that are sure to receive scant care and treatment from the

  Bureau of Prisons. And Mr. Bergmann presents no risk of recidivating.




  1 Portions of the instant memorandum are filed with reactions because they refer

  explicitly to HIPPA protected health information. An unredacted copy is being filed
  under seal with the Court and served on the government.
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           For reasons more fully explored below, Mr. Bergmann requests that the Court

  impose a sentence below 120 months or 10 years imprisonment as set forth in the

  PSI. PSI at ¶ 92. First, Mr. Bergmann argues for downward variance or departure

  pursuant to United States v. Rodriguez, 64 F.3d 638, 643 (11th Cir. 1995). Then, we

  analyze the statutory sentencing factors under 18 U.S.C. § 3553(e) as they apply to

  Mr. Bergmann.

     II.      VARAINCE OR DEPARTURE FOR ACCEPTANCE OF
              RESPONSIBILITY

           Despite pleading guilty and accepting responsibility for his criminal conduct

  in this case, Mr. Bergmann is not receiving the benefit of the acceptance of

  responsibility reduction under Section 3E1.1 of the Guidelines because the applicable

  guideline range exceeds the statutory maximum sentence of ten (10) years of

  imprisonment. Nevertheless, it is well recognized that this Court – the sentencing

  court – is empowered to remedy that fact. See United States v. Rodriguez, 64 F.3d

  638, 643 (11th Cir. 1995).

           In Rodriguez, the defendant had pleaded guilty to crimes for which the

  applicable guideline range exceeded the statutory maximum sentence by 100 months.

  The defendant objected to the fact that he was not receiving any reduction in his

  sentence for having accepted responsibility. On appeal, the 11th Circuit held that the

  district court had the authority to reward the defendant’s acceptance of responsibility

  by departing downward where application of the sentencing guidelines rendered the

  acceptance of responsibility reduction under U.S.S.G. § 3E1.1 ineffectual in reducing

  the defendant’s actual sentence. Because The Supreme Court decided Rodriguez

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  before it rendered the sentencing guidelines advisory, cases like Booker2, Rita3 and

  Gall4 have since increased this Court’s authority.

           Mr. Bergmann faces a similar situation as the defendant in Rodriguez did. His

  guidelines exceed the statutory maximum sentence of 10 years imprisonment and

  therefore the guidelines fail to account for his acceptance of responsibility. For having

  admitted his crimes early on and having saved the government and the Court

  substantial time and resources for a trial against him, the Court should reward Mr.

  Bergmann with a downward departure or variance crediting him for accepting

  responsibility. See e.g. United States v. Mark Maher, Case No. 00-cr-08064-Hurley,

  ECF 73 at 7) (“The court grants downward departure based United States v.

  Rodriguez”); United States v. Jon Michael Smith, Case No. 11-60273-cr-Dimitrouleas

  (Court imposed a sentence of 36 months imprisonment in tax fraud case in which the

  defendant faced a statutory maximum sentence of 5 years in case in which the

  guideline range was 87-108 months imprisonment); United States v. Andrew Martin,

  Case No. 22-cr-20556-Altman (Judge granted the defendant a 30-month departure

  below the statutory maximum sentence of 20 years because of the defendant’s

  decision to plead guilty, accept responsibility, and forgo trial in Hobbs Act robbery

  case).

           Here, to credit Mr. Bergmann’s decision to forego trial and accept

  responsibility, the Court should depart 3 levels from the guideline level that



  2 United States v. Booker, 534 U.S. 220 (2005.
  3 Rita v. United States, 551 U.S. 338 (2007).
  4 Gall v. United States, 552 U.S. 38 (2007).


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  corresponds with the 10-year maximum sentence he faces. The guideline level which

  corresponds with 10 years is level 31, which renders a range of 108 to 135 months.

  Granting a departure of 3 levels from there results in a level 28, which provides for a

  range 78 to 97 months’ imprisonment.

     III.     ANALYSIS OF § 3553(a) FACTORS

            A lengthy discussion of the applicable case law holding that the guidelines are

  advisory and are not to presumed reasonable is unnecessary. The Court knows the

  law, and it is well established that the Court must tailor the sentence to be imposed

  in line with the factors or considerations set forth in 18 U.S.C. § 3553(a). See Nelson

  v. United States, 555 U.S. 350, 352 (2009); Rita v. United States, 551 U.S. 338, 351

  (2007); United States v. Hunt, 459 F.3d at 1180 1184 (11th Cir. 2016).

            Below we discuss the salient § 3553(e) factors as they apply to Mr. Bergmann.


        A.        The Nature and Circumstances of the Offense.

        Mr. Bergmann pled guilty to conspiracy to violate the Neutrality Act (count 4),

  and conspiracy to (1) unlawfully export to Haiti ballistic vests in violation of export

  laws and regulations, and (2) knowingly submit false export information in

  connection with the export of the ballistic vests, in violation of 18 U.S.C. § 371 (count

  6). While these are serious offenses, and the evidence shows that Mr. Bergmann’s c-

  conspirators participated in assassinating Haitian President Jovenel Moise on July

  7, 2021, it is critical to note that Mr. Bergmann was not involved in the assassination.

  Nor did he plot to assassinate Mr. Moise.




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        Mr. Bergmann was recruited into a conspiracy to support a public uprising that

  would, if successful, lead to Mr. Moise’s ouster and make defendant Christian Sanon

  President of Haiti. Mr. Sanon was a long-time friend of Mr. Bergmann, who has a

  history of charitable works in Haiti and befriended Sanon, a Haitian doctor and

  Pastor, who engaged in charitable activities in Haiti and who also had for years held

  political aspirations. In or about April or May 2021, Mr. Sanon sought Mr.

  Bergmann’s help and introduced him to some of the other defendants, Antonio

  Intriago, Walter Veintemilla, and Archangel Pretel Perez, who had apparently been

  communicating and meeting with Mr. Sanon about making him President of Haiti so

  that they could then profit from government contracts that Sanon would be steer to

  them. Mr. Bergmann never acted in this matter with a profit motive. Rather, he was

  helping his friend, Mr. Sanon.

        Upon meeting with Mr. Sanon and Messrs. Intriago, Veintemilla and Perez

  and others, Mr. Bergmann learned that they had hatched a plan to force Mr. Moise

  out of the presidency. Mr. Sanon and his new associates believed that Mr. Moise had

  unlawfully stayed in power beyond his term in office and that he had violently

  crushed dissent to his rule. Moise was a dictator as far as they were concerned. Thus,

  in their minds at least, Moise’s illegitimacy created an opportunity or rationale to

  topple Mr. Moise and for Mr. Sanon to assume the presidency with the support of the

  public who they believed (or erroneously hoped) would rise-up and run the “dictator”

  from office. Admittedly, Mr. Bergmann appreciated that the public demonstrations

  or uprisings that the conspirators were discussing or trying to plan might lead to a



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  violate clash between the demonstrators and Mr. Moise and his police and security

  forces.

            In supporting Mr. Sanon and his plan to foment demonstrations that would

  usher him into the presidency, Mr. Bergmann helped Mr. Intriago export or ship 20

  ballistic vests to Mr. Sanon in Haiti that were to be used by CTU’s security personnel

  to protect Mr. Sanon Specifically, Mr. Bergmann suggested that they use a shipping

  company he had before used, he submitted false shipping documents concealing that

  the vests were ballistic vests, and he paid the roughly $1,000 they were charged to

  export and ship the vests to Haiti. To be clear, Mr. Intriago’s company Counter

  Terrorist Unit Security (CTU) owned the vests that he was “selling “to Sanon.

  Intriago packed the vests, and, on June 10, 2021, he personally shipped them off to

  Mr. Sanon to outfit the security personnel that CTU had provided Mr. Sanon with.

  Mr. Bergman’s role was limited to facilitating the shipment. And when Mr. Bergmann

  shipped the vests, he did not believe or understand that CTU’s personnel would later

  wear them during a later assassination of President Moise.

            Mr. Bergmann also paid $5,000 of hotels bill in Haiti for Mr. Sanon, he sent

  him $3,200 to pay personal expenses and buy new suits, and, at Mr. Sanon’s behest,

  he paid the $200 airfare for a flight taken by James Solages.

            Later, the evidence shows, and the government admits, Perez, Intriago,

  Veintemilla, and others, who did not include Mr. Bergmann, soured on Sanon because

  he failed to deliver the public demonstrations that he had promised. Hence, they gave

  up on the idea of any public demonstrations that would force Mr. Moise from office



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  and sifted their aim to make a former justice of the Haitian Supreme Court president.

  See United States v. Ortiz, Intriago, and Veintemilla, Case No. 23-mj-02256-Reid,

  Criminal Complaint ECF 3, at 6-7 of 17 (describing that, as the plan evolved, Ortiz,

  Intriago, and Veintemilla, and others shifted their objective to make a former Haitian

  Supreme Court Judge president). In doing so the other conspirators, many of whom

  Mr. Bergmann did not know and never met, hatched a new conspiracy to kidnap and

  or assassinate Mr. Moise, a plan and conspiracy in which Mr. Bergmann was not

  involved.

        Further, although Mr. Sanon’s security personnel, later turned assassins, wore

  the subject ballistic vests when attacking Mr. Moise, the vests are not offensive

  weapons but rather protective gear. Mr. Bergman was not involved in the other

  conspirators’ efforts to arm CTU’s personnel with firearms and weapons. See

  Government’s Motion to Revoke Magistrate Judge’s Release Order, ECF 412, at 16

  (Government stating that “Bergmann was not included in communications involving

  firearms and weapons”) (emphasis added). To be sure, Mr. Moise’s assassination was

  a violent and terrible crime. And Mr. Bergmann exercised poor judgment and was

  wrong to commit the crimes to which he pled guilty. Nevertheless, in weighing the

  facts and circumstances of the offense, it is only fair that the Court not lump Mr.

  Bergmann in with those who assassinated President Moise.

        B.     History and Circumstances of the Defendant.

        This factor is especially important in this case. As one court eloquently stated

  with respect to the history and characteristics of the defendant:



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               But, surely, if ever a man is to receive credit for the good
               he has done, and his immediate misconduct assessed in the
               context of his overall life hitherto, it should be at the
               moment of his sentencing, when his very future hangs in
               the balance. This elementary principle of weighing the
               good with the bad, which is basic to all the great religions,
               moral philosophies, and systems of justice, was plainly part
               of what Congress had in mind when it directed courts to
               consider, as a necessary sentencing factor, “the history and
               characteristics of the defendant.”


  United States v. Adelson, 441 F.Supp.2d 506, 513-14 (S.D.N.Y. 2006) (Rakoff, J.) A

  reading of Mr. Bergmann’s life and history compels that he receives “credit for the

  good he has done” as put by Judge Rakoff in Adelson.

        First, Mr. Bergmann’s selflessness and kindness is extraordinary and weighs

  heavily in his favor. Having graduated from the University of Florida with honors,

  becoming a CPA, and then later becoming a business owner, Mr. Bergmann did well.

  He and his business partner owned and operated a diagnostic imaging business and

  later a laboratory testing business. See McCroskrie Letter and David Bergman

  Letter. One former employee described him as “100 % the best employer I ever

  worked with.” See Letter from Marsha Sloan. Ms. Sloan described him as generous

  and kind. And she described how he went out of his way to help his employees. Indeed,

  she expresses anger and sadness because, as she put it, Mr. Bergmann’s kindness

  was taken advantage of. Id.

        In 2009, Mr. Bergmann and his business partner sold their laboratory

  business. See McCroskrie Letter. After selling his business, Mr. Bergmann then

  became heavily involved in charitable works in Haiti. See McCroskrie Letter


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  (describing that Mr. Bergmann sought to use his newly acquired financial position

  and medical knowledge to provide much needed radiology and laboratory services in

  Haiti and the Dominican Republic). He donated relief supplies to Haiti following the

  2010 Earthquake. He paid for doctors and nurses to go to Haiti following the

  earthquake. Mr. Bergmann deployed the first CT scanner used in Haiti, which was

  especially helpful in helping Haitian doctors diagnose encephalitis in children. He set

  up and donated blood testing laboratory in Haiti. He helped build a school in Haiti.

  He also made similar donations in the Dominican Republic.

           A constant and undeniable theme through the letters, written by those who

  know him best, is Mr. Bergmann’s selflessness, kindness, and generosity. His former

  business partner described how Mr. Bergmann helped him through his depression.

  See McCroskrie Letter. An employee described how he bought an office assistant a

  car so she could drive to work. See Sloan Letter. His brother and father described how

  he cared for his mentally ill and dying brother Carl, an experience that devastated

  him and further undermined his mental health.5 See David Bergman Letter and

  Frederick J. Bergmann Letter. Mr. Bergmann is the primary caretaker of his elderly

  parents, both of whom face serious and debilitating health conditions, his mother

  suffering from Alzheimer’s Disease. Thanks to Mr. Bergmann, they have been able

  live together at home during their last years, which is his father’s “strong wish.” See

  David Bergmann Letter. Mr. Bergmann is also an especially supportive father to his

  daughter, Carly, who suffers from multiple mental health diagnosis. See Carly



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      Mr. Bergmann’s brother, Carl Bergmann, died on January 9, 2021.
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  Bergmann Letter. Mr. Bergmann is a family-man in the best sense of the term. And

  he made substantial efforts to better the lives of people in Haiti and the Dominican

  Republic.

        It is only fair that the Court does not judge Mr. Bergmann solely based on his

  worst moments – the conduct in this case- and consider the good and valuable

  contributions he had made throughout his life and continues to make.

        Second, in imposing a sentence, the Court should also weigh and consider

  Bergmann’s mental health and medical conditions. Mr. Bergmann’s childhood, to say

  the least, left much to be desired because he was bullied, and his mother suffers from

  paranoid schizophrenia. PSI at ¶¶ 122 and 124. The son a of a military father, Mr.

  Bergmann’s moved frequently when he was a child, making it hard for him to make

  friends and have a sense of stability. PSI at ¶ 124. Because of his small stature, he

  was bullied. Id. And had few friends. Id. During Mr. Bergmann’s childhood, Mr.

  Bergmann’s mother was institutionalized because of her severe mental illness. PSI

  at ¶ 122. See also Frederick J. Bergmann Letter (Mr. Bergmann’s father describes

  that his wife was institutionalized on and off for 5 years when his son, the defendant,

  was between 4-9 years of age). Sadly, she physically abused Mr. Bergmann and his

  brothers, often beating them with a large wooden spoon. PSI at ¶ 124. The Military

  deployed Mr. Bergmann’s father to Vietnam, which added to the instability of Mr.

  Bergmann’s childhood. See Federick J. Bergmann Letter. As Mr. Bergmann put it,

  he had a horrible childhood. Id.




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        Unfortunately, both Mr. Bergmann and one of his brothers, Carl, inherited

  mental illness which is common in their family. PSI at ¶ 123; Letter of David

  Bergmann (defendant’s brother stating that his family’s curse is mental illness and

  providing diagram showing family history of mental illness). For years, Mr.

  Bergmann’s mental health has not been well.




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        While Mr. Bergmann is no doubt guilty of the offenses to which he pled guilty,

  his mental health and alcohol abuse played a role in his poor judgment and

  misconduct, something which the § 3553(a) factors require that the Court weigh and

  consider. A friend and therapist, Dr. Harriet Raiano, opines that Mr. Bergmann is a

  brilliant man; however, he is childlike, naïve and too trusting.” Harriet Raitano,

  DCH, PhD, Letter. Consequently, according to Dr. Raitano, Mr. Bergmann “has been

  conned out of most of his money.” Id. Mr. Bergmann’s brother, in his letter to the

  Court, described in painful detail the extent of mental health disease throughout his

  family and how mental illness impacted his brother. He also wrote:

           Unlike our mother and brother, Fred's mental health issues
           appeared later in his life, but they hit him hard, completely
           altering his outlook and behavior. Beginning about 15 years
           ago mental illness and related bouts with alcohol abuse slowly
           robbed him of good judgement, and the ability to organize and
           reason. Suddenly, my strong, successful and generous brother
           became easy to manipulate. He started making shockingly bad
           decisions. I barely recognize the Fred of today, but I truly admire
           him for his valiant fight against his mental illness.

  David Bergmann Letter.

        Mr. Bergmann’s close friend of nearly 45 years and former business partner,

  John H. McCoskrie, also wrote to the Court about Mr. Bergmann. He also painfully

  details how Mr. Bergmann slid from successful businessman to humiliation,

  demoralization and of the “steep spiral” of Mr. Bergmann’s mental health. See John

  H. McCroskrie Letter. He pointedly appeals to the Court:

           I am asking the Court to consider that good men can be
           influenced to do stupid things by others taking advantage of
           good intentions. I am also asking the Court to consider the
           degenerating effects of business failures, shady influencers,

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           mental illness and related alcohol abuse as they relate to poor
           decision making. I want to help my friend recover from his ways
           and support him in his steps to full recovery. Because of the
           assassination, Fred is a broken man, a shell of what he used to
           be, but with the Court's consideration I know that a better
           husband, father, and man will regain his place in our society for
           the remainder of his life.
  Id.

        Mr. Bergmann also suffers excruciating pain, stemming from vertebrae

  fractures in 2019 from which he has never recovered. PSI at ¶ 131.




        Mr. Bergmann’s need for mental health and medical treatment mitigates in

  favor of a less severe sentence than 10 years imprisonment. Indeed, 18 U.S.C. §

  3553(a)(2)(D) specifically requires sentencing courts to consider the need for the

  sentence imposed to “to provide the defendant with needed... medical care… in the

  most effective manner. Unfortunately, the BOP cannot be trusted to provide Mr.

  Bergmann, and inmates, with appropriate medical care. Its history of insufficient and

  substandard care is well documented and well known. According to the Justice

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  Department’s Office of Inspector General back in 2016, staff shortages and poor

  training undermine the prison systems’ ability to care for inmates, especially aging

  inmates who are more costly to incarcerate because of their medical needs. See Office

  of the Inspector General, U.S. Department of Justice, The Impact of an Aging Inmate

  Population on the Federal Bureau of Prisons (May 2015).          More recently, NPR

  investigated the BOP’s medical care and inmate deaths, detailing numerous

  examples of systematic substandard medical care. Meg Anderson, 1 and 4 Inmate

  Deaths Happens in the Federal Prison. Why?, NPR (Sept. 23, 2023, 6:00 a.m.),

  https://www.npr.org/2023/09/23/1200626103/federal-prison-deaths-butner-medical-

  center-sick-inmates. Indeed, NPR even found the BOP’s Federal Medical Centers had

  lost its Joint Commission accreditation. Id. In short, BOP will not provide Mr.

  Bergmann with adequate and effective mental health and medical treatment,

  exposing him to unnecessary pain and cruelty. See United States v. Duhon, 541 F.3d

  391 (5th Cir. 2008) (affirming sentence of probation for defendant guilty of possession

  of child pornography who faced guideline sentence of 27-33 months because of the

  defendant’s need to continue medical treatment with his psychologist); United States

  v. McFarlin, 535 F.3d 808 (8th Cir. 2008) (relying on both U.S.S.G. § 5H1.4 and Booker

  authority to uphold sentence of probation upon drug trafficking defendant where the

  guideline were 60 months of imprisonment and the defendant had undergone

  multiple heart surgeries, received graft bypass surgery in his leg, and he suffered

  from severe coronary artery disease and other serious medical conditions); United

  States v. Springer, 416 F.3d 708 (8th Cir. 2005) (reversing and remanding sentence



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  because section 3553(a)(2)(D) required that the district court consider the need to

  provide medical care in the most effective manner; defendant suffered from high blood

  pressure that caused kidney failure and he required dialysis and surgery); United

  States v. Dweck, 09-21018-Cr-Jordan (imposing a sentence of 24 months upon a 75

  year old doctor guilty of health care fraud who faced a guideline range of 70 to 87

  months because of his serious physical and medical conditions which required the

  defendant to receive regular medical treatment and take several medications).

        C.      The Need to Promote Respect for the Law and Deterrence.

        These factors are intertwined and revolve around the message a sentence

  sends to the defendant and would-be-offenders to dissuade them from committing

  similar offenses. There are two kinds of deterrence, specific deterrence, and general

  deterrence.

        As for specific deterrence, Mr. Bergmann, who is 65 years old, does not present

  any risk of engaging in any criminal conduct like that here ever again. He is a father

  and a husband, with substantial familial responsibilities, and his background

  indicates that he would not recidivate, much less committing an offense which

  resembles the offense conduct underlying his guilty plea.           Mr. Bergmann’s

  background and extremely low likelihood of recidivating may justify a downward

  variance or departure. In United States v. Clay, 483 F.3d 739 (11th Cir. 2007), the

  Eleventh Circuit affirmed a sentence of 60 months based on the district court’s view

  that the defendant was unlikely to reoffend, even though the defendant’s guideline

  range was 188-235 months. The Eleventh Circuit stressed that a sentencing court is



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  “require[d] . . . to consider characteristics of the defendant and the offense that make

  it more or less likely that the defendant will reoffend.” Id. at 745. See also, United

  States v. Chase, 828, 831 (8th Cir. 2009) (finding that lack of criminal history can be

  considered as a basis for downward variance even though it is considered in

  calculating the guideline range); United States v. Darway, 255 Fed. Appx. 68, 73 (6th

  Cir. 2007) (upholding downward variance on basis of defendant’s first-offender

  status); United States v. Hamilton, 323 Fed. Appx. 27, 31 (2d Cir. 2009) (“the district

  court abused its discretion in not taking into account policy considerations with

  regard to age recidivism not included in the Guidelines”); United States v. Urbina,

  2009 WL 565485, *3 (E.D. Wis. Mar. 5, 2009) (considering low risk of recidivism

  indicated by defendant’s lack of criminal record, positive work history, and strong

  family ties); United States v. Cabrera, 567 F. Supp. 2d 271, 279 (D. Mass. 2008)

  (granting variance because defendants “with zero criminal history points are less

  likely to recidivate than all other offenders”). United States v. Ruiz, 2006 WL

  1311982, at *4 (S.D.N.Y. May 10, 2006) (“This Court and others have previously

  declined to impose Guidelines sentences on defendants who, like Ruiz, were over the

  age of forty at the time of sentencing on the grounds that such defendants exhibit

  markedly lower rates of recidivism in comparison to younger defendants.”); United

  States v. Olis, 03 Cr. 217 (SL), 2006 WL 2716048, at *13 (S.D. Tex. Sept. 22, 2006)

  (granting significant downward variance where the “need to provide support for his

  family will provide adequate deterrence against any potential future criminal

  conduct”).



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        A sentence of 10 years imprisonment is simply unnecessary to deter Mr.

  Bergmann from future criminal behavior. In fashioning an individualized sentence,

  the fact that Bergmann is highly unlikely to recidivate favors leniency.

        General deterrence is a more difficult factor to weigh and measure. However,

  in assessing how severe a sentence the Court should impose upon Mr. Bergmann to

  send a deterrent message to others like him, the Court should consider the fact that

  that it is the certainty of being caught and punished rather than the length of a

  sentence which best serves to deter potential offenders. Studies have shown that

  increasing the severity of a person’s sentence does little to deter future crime. U.S.

  Dept. of Justice, Nat’l Inst. Of Justice, Five Things About Deterrence (May 2016)

  (citing Daniel S. Nagin, Deterrence in the Twenty-First Century, Crime and Justice: A

  Review of Research, vol. 43 (2013)). Further, lengthy prison sentences are actually

  less likely to reduce the likelihood of recidivism. See Valerie Wright, Sentencing

  Project, Deterrence in Criminal Justice: Evaluating Certainty vs. Severity in

  Punishment 7 (2010) (finding that “[a]mong low-risk offenders, those who spent less

  time in prison were 4% less likely to recidivate than low-risk offenders who served

  longer sentences”). Instead, research has consistently shown that while the certainty

  of being caught and punished has a deterrent effect, “increases in severity of

  punishments do not yield significant (if any) marginal deterrent effects.” Michael

  Tonry, Purposes and Functions of Sentencing, 34 Crime & Just. 1, 28 (2006) (“Three

  National Academy of Science Panels…. reached that conclusion, as have every major

  survey of the evidence.”); Zvi D. Gabbay, Exploring the Limits of the Restorative



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  Justice Paradigm: Restorative Justice and White-Collar Crime, 8 Cardozo J. Conflict

  Resol. 421, 447-48 (2007) (“[C]ertainty of punishment is empirically known to be a far

  better deterrent than its severity”).

         Here, it is worth noting that we are dealing with especially unique and out of

  the ordinary offense conduct. Although count 6, which relates to export violations,

  may not be unusual, the export violations are at the heart of Mr. Bergmann’s conduct

  in the conspiracy to violate the Neutrality Act (count 4). It is not like there is an

  epidemic of similar Neutrality Act conspiracies with potential offenders that requires

  the Court to impart a message of general deterrence to them. Indeed, there are few,

  if any, cases like this one.

         Further, although sending a deterrent message is important, the Court should

  avoid over-emphasizing general deterrence. See United States v. Gardellini, 545

  F.3d 1089, 1095 (D.C. Cir. 2008) (rejecting government's contention that

  affirming a probationary sentence imposed in criminal tax case would lessen

  deterrent value of criminal law "because it elevates one § 3553(a) factor -

  deterrence - above all others. As § 3553(a) makes clear, the district court at

  sentencing must consider and balance a number of factors- not all of which will

  point in the same direction."). The Court can send an effective deterrent message

  with a sentence of less than 10 years, especially when considering that the Court has

  sentenced all the defendants, who the government charged with, or participated in,

  the assassination of Mr. Moise and who have pled guilty, to life in prison. No one will




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  get the impression that somehow the Court went soft or easy in sentencing

  defendants for the crimes committed in this case.

         D.       A Sentence of 10 Years is Harsher than Necessary to Meet the

  Goals of § 3553(a).

         In sum, a review of the salient § 3553(a) factors teaches that 10 years of

  imprisonment is simply too harsh a sentence to impose on Mr. Bergmann. He is 65

  years old. He suffers from debilitating back pain because of fractured vertebra. He

  suffers from multiple mental health conditions that require extensive treatment and

  medications. The BOP, which is known to provide substandard medical care, is not

  equipped to effectively treat Mr. Bergmann. Mr. Bergmann is the primary caretaker

  of his elderly ill parents. He plays a critical role in caring for and guiding his daughter

  who has multiple mental health issues. And his limited role and offense conduct in

  this matter does not weigh against leniency for Mr. Bergmann. Lenity, in other

  words, is appropriate in Mr. Bergmann’s case.

         It has long been understood that § 3553 (a)’s admonition that a sentence should

  not be greater than necessary to meet the goals of the statute means that mercy

  should be a worthy and serious consideration when sentencing a person:

              Mercy is seldom included on the list of “traditional” rationales for
              sentencing. It is, however, evinced by the federal sentencing
              statute, 18 U.S.C. §3553(a), which provides, as noted above, that
              the lowest possible penalty consistent with the goals of sentencing
              be imposed…….

              The notion that undue harshness should be avoided by those
              sitting in judgment has long been a part of the human fabric and
              spirit. Lenity is often the desirable route.



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  United States v. Blarek, 7 F. Supp. 2d 192, 211 (E.D.N.Y. 1998) (Weinstein, J).

     IV.      REQUEST       FOR      VOLUNTARY          SURRENDER         TO        AND

              RECOMMENDATION FOR DESIGNATION AT BUTNER, NC.

           Although the Court does usually permit defendants to delay their surrender

  following sentencing, Mr. Bergmann’s situation is unique and weighs heavily in favor

  of making an exception for him. It is well documented that Mr. Bergmann suffers

  from significant mental health and physical conditions which require medical care

  and treatment. It would be counter-productive to both Mr. Bergmann’s imprisonment

  and medical care for the Court to remand Mr. Bergmann at sentencing to FDC- Miami

  where the mental health treatment and medical care is notoriously substandard.

  Hence, the Court should (1) recommend that the BOP designate Mr. Bergmann to

  serve his sentence at the Federal Medical Center in Butner, North Carolina and (2)

  delay Mr. Bergmann’s surrender 90 days to permit him to surrender at Butner after

  the BOP designates him. Mr. Bergmann does not present any risk of flight. The

  government has no objection to the instant request.




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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on May 13, 2024, a true and correct copy of the

  foregoing has been furnished electronically via CMCEF to all counsel of record.


                                  Respectfully submitted,

                                  BELL ROSQUETE REYES ESTEBAN, PLLC
                                  Henry P. Bell
                                  999 Ponce De Leon Blvd.
                                  Suite 810
                                  Coral Gables, Florida 33134
                                  Telephone: (305) 570-1610
                                  Facsimile: (305) 570-1599
                                  Email:      hbell@bresq.com
                                  Counsel for Frederick Bergmann, Jr.



                                  By:   S/ Henry P. Bell
                                        Henry P. Bell
                                        Fla. Bar No. 0090689




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